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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                             Chapter 11
In re:
                                                             Case No. 17-12560 (JKS)
WOODBRIDGE GROUP OF COMPANIES,
LLC, et al.,1                                                (Jointly Administered)
                           Remaining Debtors.


MICHAEL GOLDBERG, in his capacity as                         Adversary Proceeding No. 19-51027 (JKS)
Liquidating Trustee of the WOODBRIDGE
LIQUIDATION TRUST,

                           Plaintiff,

          v.

KENNETH HALBERT,

                           Defendant.


               NOTICE OF DEPOSITION OF DEFENDANT KENNETH HALBERT

          PLEASE TAKE NOTICE that, pursuant to Rules 26 and 30 of the Federal Rules of

Civil Procedure, made applicable to this adversary proceeding by Rules 7026 and 7030 of the

Federal Rules of Bankruptcy Procedure, counsel for plaintiff Michael Goldberg, in his capacity

as Liquidating Trustee of the Woodbridge Liquidation Trust, will take the deposition by oral

examination of defendant Kenneth Halbert via remote videoconference technology on Tuesday,

October 18, 2022, commencing at 8:30 a.m. (Pacific Time).

          PLEASE TAKE FURTHER NOTICE that the deposition may continue for the

maximum time permitted under applicable rules and may, for good cause, be extended. The


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    The Remaining Debtors and the last four digits of their respective federal tax identification number are as
    follows: Woodbridge Group of Companies, LLC (3606) and Woodbridge Mortgage Investment Fund I, LLC
    (0172). The Remaining Debtors’ mailing address is 201 N. Brand Blvd., Suite M, Glendale, California 91203.
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deposition will be taken before a qualified notary public or some other officer authorized by law

to administer oaths and will be recorded by stenographic, video, and audio means.

DATED:         October 7, 2022           PACHULSKI STANG ZIEHL & JONES LLP
               Wilmington, Delaware

                                                 /s/ Colin R. Robinson
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                                         -and-

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